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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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                                                                        X
                                                                        :
 MONICA BOSWELL,                                                        :
                                                                        :
                                     Plaintiff,                         :    20-CV-8923 (JMF)
                                                                        :
                   -v-                                                  :        ORDER
                                                                        :
 BIMBO BAKERIES USA, INC.,                                              :
                                                                        :
                                     Defendant.                         :
                                                                        :
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JESSE M. FURMAN, United States District Judge:

        The Complaint in this case was filed with the Court on October 25, 2020, see ECF No. 1,
but the docket does not reflect that the Complaint has been served on Defendant. In view of that
and the lack of an appearance by Defendant, the initial pretrial conference currently scheduled
for January 19, 2021, see ECF No. 5, is ADJOURNED to February 23, 2021, at 2:00 p.m.

        Plaintiff is reminded that Rule 4(m) of the Federal Rules of Civil Procedure requires
dismissal without prejudice if a plaintiff does not serve the defendant with the summons and
complaint within 90 days, absent good cause. If Plaintiff believes that Defendant has been
served, Plaintiff shall promptly communicate with the Court, in writing, when and in what
manner such service was made. If not, Plaintiff shall promptly file proof of service after service
is made.

       Finally, Plaintiff is directed (1) to notify Defendant’s attorneys in this action by serving
upon each of them a copy of this Order and (2) to file proof of such notice with the Court by
January 15, 2021. If unaware of the identity of counsel for Defendant, counsel receiving this
order must forthwith send a copy of this Order to that party personally.

        SO ORDERED.

Dated: January 11, 2021                                    __________________________________
       New York, New York                                           JESSE M. FURMAN
                                                                  United States District Judge
